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 8                         UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10                           (HON. JANIS L. SAMMARTINO)
11   UNITED STATES OF AMERICA,              )      Case No. 17-cr-0623-JLS
                                            )
12                      Plaintiff,          )
                                            )      ORDER
13         vs.                              )      AUTHORIZING ISSUANCE
                                            )      OF PRE-TRIAL SUBPOENA
14   JAMES DOLAN (4),                       )      DUCES TECUM UNDER
                                            )      FED. R. CRIM. P. 17(c)
15                      Defendant.          )      AND CRIM. L. R. 17.1(b)
                                            )
16
17         Defendant James Dolan has moved for authorization to issue a pre-trial
18   subpoena duces tecum compelling production of recorded interviews of Leonard
19   Francis that are excerpted, in part, in a multi-episode podcast titled “Fat Leonard.”
20   The Court finds there is good cause for issuance of such a subpoena.
21         Accordingly, under Federal Rule of Criminal Procedure 17(c) and Local
22   Criminal Rule 17.1(b), the Court hereby orders that: (1) counsel for Mr. Dolan may
23   issue a subpoena (or, if necessary, subpoenas) compelling production of copies of
24   audio and/or video recordings of interviews of Mr. Francis that are excerpted in part
25   in a multi-episode podcast titled “Fat Leonard;” (2) the subpoena(s) shall require
26   production of the indicated recordings within seven days of service of the
27   subpoena(s); (3) the subpoena(s) shall require the indicated materials be delivered to
28   Clerk, U.S. District Court, Att’n Alex Ramos, 333 West Broadway, Suite 420, San
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 1   Diego, California 92101; and (4) the Clerk’s office shall promptly make those
 2   materials available for inspection and copying by the parties and the attorneys.
 3         IT IS SO ORDERED.
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 5   DATED: November 18, 2021
 6                                                Honorable Janis L. Sammartino
                                                  United States District Judge
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